                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:09-cr-158-001
 v.                                                   )
                                                      )       Judge McDonough/Steger
 CHRISTOPHER B. JACK                                  )

                                MEMORANDUM AND ORDER

         CHRISTOPHER B. JACK (“Defendant”) came before the Court for an initial appearance
 on November 6, 2020, in accordance with Rule 32.1 of the Federal Rules of Criminal Procedure
 on the Petition for Warrant for Offender under Supervision (“Petition”) [Doc. 75].

         After being sworn in due form of law, Defendant was informed of his privilege against
 self-incrimination under the 5th Amendment and his right to counsel under the 6th Amendment to
 the United States Constitution.

         The Court determined Defendant wanted to be represented by an attorney and that he
 qualified for the appointment of an attorney to represent him at government expense.
 Consequently, the Court APPOINTED Attorney Presita West of Federal Defender Services of
 Eastern Tennessee, Inc., to represent Defendant.

        Defendant was furnished with a copy of the Petition, and had an opportunity to review that
 document with his attorney. The Court determined that Defendant was able to read and understand
 the Petition with the assistance of his counsel. In addition, AUSA Frank Clark explained to
 Defendant the specific charges contained in the Petition. Defendant acknowledged that he
 understood the charges in the Petition.

         The Government moved Defendant be detained pending disposition of the Petition or
 further Order of this Court. The Court explained Defendant’s right to a preliminary hearing and
 detention hearing and what those hearings entail. Defendant conferred with his counsel and waived
 the preliminary hearing and the detention hearing.

         The Court finds that probable cause exists to demonstrate that Defendant has committed
 violations of his conditions of supervised release, and that Defendant has not carried the burden of
 establishing by clear and convincing evidence that he will not flee or pose a danger to any other
 person or to the community. Consequently, the Court GRANTED the Government’s oral motion
 to detain Defendant pending disposition of the Petition or further Order of this Court.



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       It is, therefore, ORDERED that:

          1. Counsel for Defendant and the Government shall confer and make best
             efforts to submit to the United States District Judge a proposed Agreed
             Order with respect to an appropriate disposition of the Petition for Warrant
             for Offender Under Supervision.

          2. In the event counsel are unable to reach agreement with respect to an
             appropriate disposition of the Petition for Warrant for Offender Under
             Supervision, they shall request a hearing before the United States District
             Judge.

          3. The Government’s motion that Defendant be DETAINED WITHOUT
             BAIL pending further Order of this Court is GRANTED.

       ENTER.


                                           /s/ Christopher H. Steger
                                           UNITED STATES MAGISTRATE JUDGE




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